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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Howard Cohan
                                               Plaintiff,
v.                                                          Case No.: 1:23−cv−02293
                                                            Honorable Nancy L. Maldonado
LA−RFMBG LINCOLNSHIRE, LLC, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 25, 2023:


        MINUTE entry before the Honorable Nancy L. Maldonado: Pursuant to the
stipulation of dismissal per Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this case is
voluntarily dismissed with prejudice. Each party shall bear their own costs, including
attorneys' fees. Civil case terminated. (ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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